
PENDLETON, President,
after stating the case, deliverod the resolution of the Court as follows:
*76In Turner v. Turner, 1 Wash. 139, the plaintiff claimed under a parol gift, and the Court below admitted evidence of such gift, which this Court adjudged could not be admitted under the act of 1758, [c. 5, 7 Stat. Larg. 237.]
Although, under that act, the parol gift did not pass the property in the slave Nan to Russell, yet, this possession of more than five years in Armstead’s life-time, barred the title of the latter, and prevented his power of disposition by his will, more especially in this case of a bona fide purchaser from the possessor.
The supersedeas is, therefore, unanimously denied.*

[* See Act of Oct. 1787, c. 21, 12 Stat. Larg. 505, ch. 111, § 51, R. C. ed. 1819.]

